Case 1:05-cr-10028-.]DT Document 16 Filed 04/28/05 Page 1 of 2 Page|D 16

lN THE UNITED sTATES DISTRICT CouRT '*'- ' /YW/
FoR THE WESTERN DISTRICT oF TENNESSEEP,__ m ,\ 9 mg h `
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UNITED STATES OF AMERICA \¢"Jf`:?` €."T-'?; 'lAN. if'iE|`».¢F!-fii?

V.

SHENA MARIE GREER 1:05cr10028-T

 

ORDER ON ARRAIGNMENT

 

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This cause came to be heard oL/H/LL/ 2,"7, adds the United States Attorney
for this di strict appeared on behalf of the government, and the defendant appeared in person and With
counsel:

NAMé/LY //ZA#M~F viz f _D, &¢si/Lm whoisRetained/Appoimed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extendedl

//r"

he defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (bein{gr a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. \_/%/__`

UNITED STATES MAGISTRATE ]UDGE

CHARGES -18:472
PASSES COUNTERFEIT OBLIGATIONS OR SECURITIES

Attorney assigned to Case: R. Grinalds
Age: ?({

Thls document entered on the docket sheet In compliance
Wlth Fluie 55 and/or 32(b) FFlCrP Orl '

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This notice confirms a copy of the document docketed as number 16 in
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Honorable J ames Todd
US DISTRICT COURT

